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                           UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                   OFFICE OF THE CLERK
                                    600 WEST CAPITOL AVENUE
                                           SUITE A-149
                                LITTLE ROCK, ARKANSAS 72201-3325

JAMES W. McCORMACK                                                                  (501)604-5351
        CLERK                                                                    FAX(501)604-5321


                                          May 31, 2017


Lynn Stillwell, Clerk
Phillips County Circuit Court                                    Certified Mail #7004 2510 0005 1677 1297
620 Cherry Street
Room 206
Helena, AR 72342

       Re:    Murray v. Union Pacific Railroad, et al.
              Case No. 2:16-cv-0154-BSM
              Phillips County Circuit Court Case No. CV-16-00296

Dear Ms. Stillwell:

        Enclosed please find a certified copy of the Order, signed May 30, 2017,
by Chief District Judge Brian S. Miller, in the above-referenced case. Pursuant to the Order,
the case is hereby remanded to the Phillips County Circuit Court. Also enclosed is a certified
copy of the docket sheet and copies of all filed pleadings since the removal of this action.

       If you have any questions, please contact me at (501) 604-5351.

                                             Sincerely,

                                             JAMES W. McCORMACK, CLERK


                                             By:   /s/ K. Rochelle
                                                       Deputy Clerk

cc: Hon. Brian S. Miller
    Enclosures
